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                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF GEORGIA                                           -. ..
                                SAVANNAH DIVISION                                         /u[             htl   Hi
                                                                                                                     C




UNITED STATES OF AMERICA                        )      CR 407-223
                                                )          407-312
                V.                              )

                                                )

GEORGE MICHAEL MLAY                             )

                                     ORDER OF DISMISSAL

        Pursuant to Rule 4 8(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the Southern District of Georgia hereby dismisses,

without prejudice, the defendant George Michael Mlay from the indictments herein, said dismissal

being in the interests of justice.

        Pursuant to a written plea agreement, defendant had been scheduled to enter a plea of guilty

to count two of CR 407-223 and to count one of CR 407-312 on November 13, 2007. At the time

set for the Rule 11 hearing, counsel for the defendant announced that defendant had been

preliminarily diagnosed with brain cancer on November 11, 2007 and moved the court to continue

the matter until such time as defendant's medical condition was better ascertained. Defendant filed

a written motion to continue on November 26, 2007, requesting that the Court continue his case until

such time as he and his counsel were able to ascertain defendant's competence to enter a plea of

guilty. The defendant agreed to waive his right to a speedy trial while undergoing medical treatment.

The Court granted defendant's written motion on November 28, 2007.

        By letter dated December 28, 2007, W. Scott Kellogg, M.D., a board certified oncologist,

advised the Court that the Defendant was suffering from "metastatic, stage 4 lung cancer that has

spread to the brain." According to Dr. Kellogg, Mlay has several lesions in his brain and a lesion

in his chest and the diagnosis is "ultimately fatal and incurable." Mlay continues to receive treatment
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for his illness. Based on a review of medical reports provided by the defendant, the government is

persuaded that Mlay is not competent to enter a plea of guilty nor to stand trial for the charges herein.

This situation is unlikely to change in the foreseeable future. Given the confirmed gravity of

Defendant's medical condition, the ends of justice are served by the dismissal of charges without

prejudice.

                                                  Respectfully submitted,

                                                  s/Edmund A. Booth, Jr.

                                                  Edmund A. Booth, Jr.
                                                  United States Attorney

                                                  s/ James D. Durham

                                                  James D. Durham
                                                  Assistant United States Attorney
                                                  Georgia Bar No. 235515

                                                  s/KarlL Knoche

                                                  Karl I. Knoche
                                                  Assistant United States Attorney
                                                  Georgia Bar No. 426624

        Leave of court is granted for the filing of the foregoing dismissal of George Michael Mlay,

without prejudice, from Indictment Nos. CR 407-223 and 407-312.

        So ORDERED, this c23 lay of August 2008.



                                               HON. WVANT EDENFID
                                               JUDGE, UNITED STATI %'DISTRiCT COURT
                                               SOUTHERN DISTRICT'OF GEORGIA
ORDER OF DISMISSAL
George Michel MIay
CR 407-223/407-312
Prepared by AUSA Knoche
